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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


DONNA CURLING, et al.,                          :
                                                :
                                                :
       Plaintiffs,                              :
                                                :
v.                                              :           CIVIL ACTION NO.
                                                :           1:17-CV-2989-AT
BRIAN KEMP, et al.,                             :
                                                :
                                                :
       Defendants.                              :


                                           ORDER

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 I.   Introduction

      This case involves colliding election and voting rights dynamics and

dilemmas. The State of Georgia Defendants have delayed in grappling with the

heightened critical cybersecurity issues of our era posed for the State’s dated,

vulnerable voting system that provides no independent paper audit trail. The

Plaintiffs did not bring their preliminary injunction motions in a sufficient time

span to allow for thoughtful, though expedited, remedial relief, despite the

important, substantive content of their evidentiary submissions in connection with

their preliminary injunction motions. There are no easy answers to the conflicts

posed here. In a democracy, citizens want to be assured of the integrity of the

voting process, that their ballots are properly counted and not diluted by

inaccurate or manipulated counting, and that the privacy of their votes and

personal information required for voter registration is maintained. But citizens

also depend on the orderly operation of the electoral and voting process. Last-

minute, wholesale changes in the voting process operating in over 2,600 precincts,

along with scheduled early voting arrangements, could predictably run the voting

process and voter participation amuck. Transparency and accountability are, at

the very least, essential to addressing the significant issues that underlie this case.

      Currently before the Court in this matter are Defendants’ motions to dismiss

[Docs. 82, 83, 234] and Plaintiffs’ more recently filed motions for preliminary

injunction [Docs. 258, 260, 271]. Given the time sensitivity of Plaintiffs’ motions

with respect to the upcoming November 2018 elections, the Court held an extended


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full-day hearing on Plaintiffs’ motions on September 12, 2018 as well as the

threshold jurisdictional issues of standing and Eleventh Amendment immunity

raised in Defendants’ motions to dismiss.1 The Court, out of an abundance of

caution, addressed the issues of standing and Eleventh Amendment immunity first

and determined whether it could properly exercise jurisdiction over this case

before considering Plaintiffs’ request for emergency injunctive relief. After hearing

argument on these issues, the Court announced orally its determination that it

could properly exercise jurisdiction for purposes of proceeding with the hearing on

Plaintiffs’ preliminary injunction motions. The Court further announced that a

written order would follow setting forth more specifically the basis for this finding.

Accordingly, this Order addresses issues of standing and Eleventh Amendment

immunity as well as Plaintiffs’ motions for preliminary injunction.




1 Defendants’ motions to dismiss also raise other non-jurisdictional arguments that Plaintiffs have

failed to state viable claims for relief and that their claims are barred by res judicata and collateral
estoppel. The Court notes that only Fulton County Defendants move to dismiss based on
collateral estoppel; the State Defendants do not move on this basis. With respect to res judicata
and collateral estoppel in particular, Plaintiffs have effectively argued at this stage that their
current claims are not barred. Moreover, even if a few Plaintiffs were deemed estopped, it appears
that at least some Plaintiffs would still proceed with their claims. The Court will more fully
address these and all other issues raised in Defendants’ motions to dismiss in a separate,
subsequent order.

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II.    Background2

       In their complaints, their motions for preliminary injunction, and their

presentations during the September 12th hearing, Plaintiffs 3 paint an unsettling

picture of the vulnerabilities of Georgia’s voting system along with the recent,

increased, and real threats of malicious intrusion and manipulation of the system

and voter data by nation states and cyber savvy individuals.

       Plaintiffs start by describing Georgia’s voting system. The system relies on

the use of Direct Recording Electronic voting machines (“DREs”) for electors to

cast their votes in public elections. This computer voting equipment is used in

tandem with the State’s Global Election Management Systems (“GEMS”) server

and County GEMS servers that communicate voting data.4 DRE touchscreen

computer voting machines are located at polling stations in every precinct during

elections and are otherwise stored in various county facilities throughout the state.

Electors use DRE machines if they are voting early and in-person with absentee

ballots or if they are voting in-person on election day. “The voting machines are




2 This section provides a brief factual summary based on the allegations in the Curling Plaintiffs’

Second Amended Complaint (Doc. 70), the Coalition Plaintiffs’ Third Amended Complaint (Doc.
226), the Curling Plaintiffs’ Motion for Preliminary Injunction (Doc. 260), the Coalition Plaintiffs’
Motion for Preliminary Injunction (Doc. 258), information presented during the September 12,
2018 hearing, and supplemental affidavits as well as Defendants’ responses to Plaintiffs’ filings.
3 There are two sets of Plaintiffs in this case represented by separate counsel. Donna Curling,

Donna Price, and Jeffrey Schoenberg are referred to as the “Curling Plaintiffs.” The Coalition for
Good Governance (“CGG”), Laura Digges, William Digges III, Ricardo Davis, and Megan Missett
are referred to as the “Coalition Plaintiffs.”
4 A related software program is used to create the ExpressPoll pollbooks providing confidential

voter identification information by precinct. Poll workers access this data by computer to verify
voter registration and to create the DRE Voter Access Card that activates the specific electronic
ballot on the DRE machine that should be linked to the voter’s address.

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computers with reprogrammable software.” (Halderman Affidavit, Doc. 260-2 ¶

16.) The DRE machines record votes electronically on a removable memory card,

and each card is later fed into the county GEMS server to tabulate the vote totals

by candidate and the results of other ballot questions. When the polls have closed,

poll workers prompt the DRE machines to internally tally the electronic total

number of votes and print a paper tape of the vote totals per machine.

       Most significantly, the DREs do not create a paper trail or any other means

by which to independently verify or audit the recording of each elector’s vote. i.e.,

the actual ballot selections made by the elector for either the elector’s review or for

audit purposes.       Instead, at the hearing, Dr. Alex Halderman, a Professor of

Computer Science and Engineering and Director of the Center for Computer

Security and Society at the University of Michigan in Ann Arbor, discussed and

demonstrated how a malware virus can be introduced into the DRE machine by

insertion of an infected memory card (or by other sources) and alter the votes cast

without detection.5 Dr. Halderman gave a live demonstration in Court with a

Diebold DRE using the same type of equipment and software as that used in

Georgia. The demonstration showed that although the same total number of votes

were cast, the contaminated memory card’s malware changed the actual votes cast

between candidates. There was no means of detection of this as the “malware

modified all of the vote records, audit logs, and protective counters stored by the



5 Dr. Halderman’s affidavit provides additional detail and context related to his testimony.   (Doc.
260-2.)

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machine, so that even careful forensic examination of the files would find nothing

amiss.” (Halderman Affidavit, Doc. 260-2 ¶ 19.) The DRE machine’s paper tape

simply confirmed the same total number of votes, including the results of the

manipulated or altered votes. Viruses and malware have also been developed by

cyber specialists that can spread the “vote stealing malware automatically and

silently from machine to machine during normal pre- and post-election activities,”

as the cards are used to interface with the County and State GEMS servers. (Id. ¶

20.)

       Other cybersecurity elections experts have shared in Professor Halderman’s

observations of the data manipulation and detection concealment capacity of such

malware or viruses, as well as the ability to access the voting system via a variety

of entry points. Plaintiffs filed affidavits in the record for several of these experts.6

Professor Wenke Lee (Professor of Computer Science at Georgia Tech and a

member of a new study commission convened by the Secretary of State) also

prepared a PowerPoint presentation summary on the topic for the Commission

that identified this malware detection and manipulation capacity. (Pl. Ex 5,

Preliminary Injunction Hearing.) Professor Halderman’s analysis of the severe

limitations of the “logic and accuracy” and “parallel testing” auditing processes

used by Georgia to test ballot counting are summarized in his affidavit and will be



6 See DeMillo Affidavit, Doc. 277, Ex. C; Buell Affidavit, Doc. 260-3; Stark Affidavit, Doc. 296-1;

Bernhard Affidavit, Doc. 258-1 at 33-42. Professor DeMillo, who also testified at the hearing, is
the Chair of Computer Science at Georgia Tech and has served as Dean of the College of
Computing at Georgia Tech and as Director of the Georgia Tech Center for Information Security.

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discussed later. (Doc. 260-2 at ¶¶ 37-48.) Suffice it to say, at this juncture, that

national- and state-commissioned research-based studies by cybersecurity

computer scientists and elections experts consistently indicate that an

independent record of an elector’s physical ballot is essential as a reliable audit

confirmation tool.

       The DREs record individual ballot data in the order in which they are cast,

and they assign a unique serial number and timestamp to each ballot. This design

for recording ballots, according to Plaintiffs, makes it possible to match the ballots

to the electors who cast them. Additionally, the Georgia DREs use versions of

Windows and BallotStation (developed in 2005) software, both of which are out of

date – to the point that the makers of the software no longer support these versions

or provide security patches for them. (Halderman Affidavit, Doc. 260-2 ¶¶ 24-28.)

The DRE machines and related election software are all the product of Premier

Election Solutions, formerly known as Diebold Election Systems. A large volume

of the voting machines were purchased when the DRE initiative was first

implemented in the 2002 to 2004 period in Georgia.

       Statewide, Georgia uses its central GEMS server at the Secretary of State's

offices to build the ballots for each election for each county. 7 The central GEMS

server communicates the election programming and other files onto the memory

cards before an election. From 2002 to December 2017, the Secretary of State


7 The ballot software also programs the location of candidates and other ballot options on the

touchscreens of the DRE machines. Ballot adaptations, thus, are created for 159 counties and
their over 2,600 precincts.

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contracted with Kennesaw State University to maintain the central server for the

State at a unit in the University called the Center for Election Services (“CES”).

Plaintiffs allege that the central server was accessible via the internet for a time –

at least between August 2016 and March 2017.

      In August 2016, Logan Lamb, a professional cybersecurity expert in Georgia,

went to CES’s public website and discovered that he was able to access key election

system files, including multiple gigabytes of data and thousands of files with

private elector information. The information included electors’ driver’s license

numbers, birth dates, full home addresses, the last four digits of their Social

Security numbers, and more. Mr. Lamb was also able to access, for at least 15

counties, the election management databases from the GEMS central tabulator

used to create ballot definitions, program memory cards, and tally and store and

report all votes. He also was able to access passwords for polling place supervisors

to operate the DREs and make administrative corrections to the DREs.

Immediately, Mr. Lamb alerted Merle King, the Executive Director overseeing

CES, of the system’s vulnerabilities. The State did not take any remedial action

after Mr. King was alerted.

      In February 2017, a cybersecurity colleague of Mr. Lamb’s, Chris Grayson,

was able to repeat what Mr. Lamb had done earlier and access key election

information. Mr. Lamb also found, around this time, that he could still access and

download the information as he had before. On March 1, 2017, Mr. Grayson

notified a colleague at Kennesaw State University about the system’s


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vulnerabilities, and this led to notification of Mr. King again. Days later, the FBI

was alerted and took possession of the CES server.

       The Secretary of State has since shut down the CES and moved the central

server internally within the Secretary’s office. But on July 7, 2017, four days after

this lawsuit was originally filed in Fulton Superior Court, all data on the hard drives

of the University’s “elections.kennesaw.edu” server was destroyed. And on August

9, 2017, less than a day after this action was removed to this Court, all data on the

hard drives of a secondary server – which contained similar information to the

“elections.kennesaw.edu” server – was also destroyed. As discussed more fully

later in this Order, the State offered little more than a one-sentence response to

these data system incursions and vulnerabilities at CES.

       The Premier/Diebold voting machine models at issue have been the subject

of comprehensive critical review both by university computer engineer security

experts independently as well as under the auspices of the States of Maryland,

California, and Ohio. These studies identified serious security vulnerabilities in

the software and resulted in the three states’ adoption of different voting systems.

(Halderman Affidavit, Doc. 260-2 ¶¶ 17-23; see also Atkeson Affidavit, Doc. 276-1

¶¶ 8-9 (also discussing the states of New Mexico and Virginia transitioning away

from DREs after identifying several issues with the machines).)8


8 By contrast, the Secretary of State certified in April 2018 the accuracy and safety of the Georgia

DRE system. This certification was based on a pre-announced examination of voting facilities
and the conducting of a tiny mock election in several Georgia counties on November 27-29, 2017
by a combination of staff from the Secretary of State’s Office and the Center for Election Services
at Kennesaw State University. (Def. Ex. 2 from Preliminary Injunction Hearing.) No

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        Plaintiffs point to several national authorities which, in the last year, have

raised the alarm about U.S. election security – and particularly about the use of

DREs in elections.          For instance, in March 2018, the Secretary of the U.S.

Department of Homeland Security (DHS) declared DRE voting systems to be a

“national security concern,” (Coalition Complaint, Doc. 258-1 at 10 n. 3) –

approximately 14 months after the Department declared election systems to be

“critical infrastructure” pursuant to 42 U.S.C. § 5195c.9 (U.S. Department of

Homeland        Security, “DHS           Cybersecurity Services            Catalog for        Election

Infrastructure,” at 3.)10 In May 2018, the Senate Select Committee on Intelligence

concluded that DREs are “at highest risk of security flaws” and that states “should

rapidly replace outdated and vulnerable voting systems” with systems that have a

verified paper trail. (Id. at 11 n. 5.) And on September 6, 2018, after it was

commissioned to consider the future of voting in the United States, the National

Academies of Sciences, Engineering, and Medicine11 and associated National



cybersecurity experts or computer engineering scientists are listed as participants in this review.
There is no indication in the description of the examination that any effort was made to go beyond
a simple running of the equipment and observation of election procedures to reach this
determination. In other words, there is no indication that any effort was made to evaluate the
trove of software and data security and accuracy issues identified in studies performed on behalf
of other states or by cybersecurity and computer engineers in the field.
9 Critical infrastructure is defined as “systems and assets, whether physical or virtual, so vital to

the United States that the incapacity or destruction of such systems and assets would have a
debilitating impact on security, national economic security, national public health or safety, or
any combination of those matters.” Section 5195c(b) of the Critical Infrastructures Protection Act
makes clear that information systems and their interdependence constitute a central concern of
Congress.
10 See https://www.eac.gov/assets/1/6/DHS_Cybersecurity_Services_Catalog_for_Election_Infrastructure.pdf.
11 Congress established the National Academies of Sciences, Engineering, and Medicine in 1863

as an independent body, which has the obligation to provide scientific and technical advice to any
department of the Government upon request and without compensation.                                   See

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Research Council (“NAS”) issued a consensus report about the need to secure and

improve state and local election systems.12 The report, titled “Securing the Vote:

Protecting American Democracy,” made a number of recommendations, including

that “[e]very effort should be made to use human-readable paper ballots in the

2018 federal election.” (Doc. 285-1 at 35.) The report further recommended that

voting machines that do not produce paper audit trails for each elector’s vote

“should be removed from service as soon as possible” and that each state “should

require a comprehensive system of post-election audits of processes and

outcomes.” (Id. at 35-36.)

       Similarly, the Board of Advisors of the U.S. Elections Assistance

Commission (EAC) passed a resolution in 2018 recommending that the EAC “not

certify any system that does not use voter-verifiable paper as the official record of

voter intent.”13

       Dr. Wenke Lee, Professor of Computer Science at Georgia Tech University

and Co-Executive Director of the Institute for Information Security – the sole

computer scientist appointed to the Secretary of State’s new Secure Accessible Fair

Elections (“SAFE”) Commission – has echoed these same paper ballot and audit



http://www.nasonline.org/about-nas/leadership/governing-documents/act-of-
incorporation.html.
12 As noted by Professor Richard A. DeMillo in his supplemental affidavit, “a consensus report of

the NAS . . . represents the highest authority that the U.S. Government can rely upon when it seeks
to be advised on matters of science, technology and engineering.” (Doc. 285-1 ¶ 9.)
13 See discussion of EAC action and audit outcome issues in the affidavit of Philip B. Stark,

Professor of Statistics and Associate Dean of Mathematical and Physical Sciences and faculty
member in Graduate Program in Computational Data Science and Engineering at University of
California, Berkeley. (Doc. 296 ¶¶ 20-25.)

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verification recommendations in his August 30, 2018 presentation on

cybertechnology to the Commission. He has also stressed the essential need for

installation on an ongoing basis of new hardware and software components

designed to provide security protection to ensure voting system security. (Pl. Ex.

5, Preliminary Injunction Hearing.)

       In the midst of the events involving the breach of the CES at Kennesaw State

University, Plaintiffs filed the current case against Defendants14 in August 2017.

Plaintiffs essentially claim that the DRE voting system in Georgia is unsecure, is

unverifiable, and compromises the privacy and accuracy of their votes, and

therefore they claim that Defendants’ continued use of the DRE system violates

their constitutional rights. A brief overview of the particular claims brought by

each set of Plaintiffs is instructive here.

       The Coalition Plaintiffs bring two federal claims in their Third Amended

Complaint:

       (1) a 42 U.S.C. § 1983 claim for violation of the Fourteenth Amendment’s

guarantee of due process, based on the substantial burden placed on their

fundamental right to vote; and




14 Defendants are largely classified in two groups: (1) the “State Defendants,” which include Brian

Kemp in his official capacity, the State Election Board, and members of the State Election Board
(David J. Worley, Rebecca N. Sullivan, Ralph F. Simpson, and Seth Harp) in their official
capacities; and (2) the “Fulton County Defendants,” which include Richard Barron in his official
capacity, the Fulton County Board of Registration and Elections, and members of the Fulton
County Board of Registration and Elections (Mary Carole Cooney, Vernetta Nuriddin, David J.
Burge, and Aaron Johnson) in their official capacities.

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       (2) a 42 U.S.C. § 1983 claim for violation of the Fourteenth Amendment’s

guarantee of equal protection, based on the more severe burdens placed on the

Plaintiffs’ right to vote, right to freedom of speech and association, and the Georgia

constitutional right to a secret ballot15 as a result of Plaintiffs choosing to vote by

DRE relative to other similarly situated electors choosing to vote another way.

       For each of these claims, the Coalition Plaintiffs seek declaratory and

injunctive relief against Brian P. Kemp in his official capacity as the Secretary of

State of Georgia and as Chairperson of the State Election Board; the members of

the State Election Board (David J. Worley, Rebecca N. Sullivan, Ralph F. “Rusty”

Simpson, and Seth Harp) in their official capacities; and the members of the Fulton

County Board of Registration and Elections (Mary Carole Cooney, Vernetta

Nuriddin, David J. Burge, Stan Matarazzo, and Aaron Johnson) in their official

capacities. The Coalition Plaintiffs’ Third Amended Complaint seeks a range of

relief that is broader than their Motion for Preliminary Injunction now before the

Court. Specifically, the Coalition Plaintiffs’ Third Amended Complaint seeks the

following:

       • A court order declaring it unconstitutional to conduct public elections

           using any DRE model,




15 The Coalition Plaintiffs clarify, in their Response to the State Defendants’ Motion to Dismiss,

that they are not bringing a state-law claim for violation of the Georgia Constitution. They are
instead bringing a federal § 1983 claim based on unequal enforcement of state law.

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       • An injunction enjoining Defendants from enforcing O.C.G.A. § 21-2-

           383(b)16 and Georgia State Election Board Rule 183–1–12–.0117 and from

           requiring voters to cast votes using DREs,

       • An injunction prohibiting Defendants from conducting public elections

           with optical scanned paper ballots without also requiring post-election

           audits of paper ballots to verify the results, and

       • An injunction prohibiting Defendants from conducting public elections

           without also requiring subordinate election officials to allow meaningful

           public observation of all stages of election processing.

       The Curling Plaintiffs bring essentially the same two constitutional claims as

those brought by the Coalition Plaintiffs.             As a slight variation, the Curling

Plaintiffs bring their constitutional claims against the Defendants listed above as

well as one additional defendant: Richard Barron in his official capacity as the

Director of the Fulton County Board of Registration and Elections. The Curling




16 “Notwithstanding any other provision of this Code section, in jurisdictions in which direct

recording electronic (DRE) voting systems are used at the polling places on election day, such
direct recording electronic (DRE) voting systems shall be used for casting absentee ballots in
person at a registrar’s or absentee ballot clerk’s office or in accordance with Code Section 21-2-
382, providing for additional sites.” O.C.G.A. § 21-2-383(b).
17 “Beginning with the November 2002 General Election, all federal, state, and county general

primaries and elections, special primaries and elections, and referendums in the State of Georgia
shall be conducted at the polls through the use of direct recording electronic (DRE) voting units
supplied by the Secretary of State or purchased by the counties with the authorization of the
Secretary of State. In addition, absentee balloting shall be conducted through the use of optical
scan ballots which shall be tabulated on optical scan vote tabulation systems furnished by the
Secretary of State or purchased by the counties with the authorization of the Secretary of State;
provided, however, that the use of direct recording electronic (DRE) voting units is authorized by
the Secretary of State for persons desiring to vote by absentee ballot in person.” Ga. Comp. R. &
Regs. r. 183–1–12–.01.

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Plaintiffs also seek somewhat varied relief for these claims in their Second

Amended Complaint:

       • A court order declaring that Defendants violated the Fourteenth

           Amendment, and

       • An injunction prohibiting Defendants from using DREs or other voting

           equipment that fails to satisfy state requirements.18

       As stated above, both sets of Plaintiffs seek more limited and immediate

relief in their motions for preliminary injunction. The Curling Plaintiffs ask the

Court to order the following relief prior to the November 2018 general election: (1)

enjoin the State Defendants to direct all counties that the use of DREs in the

November 2018 election (and the December 2018 runoff election) is prohibited,

with the exception for electors with disabilities; (2) enjoin the State Defendants to

direct all counties to conduct elections using paper ballots; and (3) require the

State Defendants to promulgate rules requiring and specifying appropriate

procedures for conducting manual audits of election results.                       Similarly, the

Coalition Plaintiffs ask the Court to: (1) prohibit Defendants from conducting the

November 2018 election (and the December 2018 runoff election) with DRE




18 Additionally, the Curling Plaintiffs bring a state-law claim under O.C.G.A. § 9-6-20 for a writ of

mandamus ordering Defendants to discontinue the use of DRE machines and to either use (a) an
optical scanning voting system or (b) hand-counted paper ballots. The Curling Plaintiffs seek a
writ of mandamus against the following Defendants: the members of the State Election Board in
their official capacities; the State Election Board; Richard Barron in his official capacity as the
Director of the Fulton County Board of Registration and Elections; the members of the Fulton
County Board of Registration and Elections in their official capacities; and the Fulton County
Board of Registration and Elections.

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machines for in-person voting; (2) order Defendants to conduct such elections

using paper ballots, as permitted by Georgia law, with certain exceptions made for

persons with disabilities; (3) order the State Election Board Members to

promulgate rules requiring and specifying appropriate procedures for conducting

manual audits of election results; and (4) order the Secretary of State, before

October 1, 2018, to audit and correct any identified errors in the DRE system’s

electronic pollbook data that will be used in both such elections.

       The Court now turns to the jurisdictional issues raised in Defendants’

motion to dismiss before addressing the Plaintiffs’ motions for preliminary

injunction.

III.   Threshold Jurisdictional Issues

          A. Standing

       The State Defendants argue that both the Curling Plaintiffs and the Coalition

Plaintiffs lack standing to bring their claims in federal court. According to the State

Defendants, Plaintiffs fail to establish each of the three elements required for

standing. The Fulton County Defendants’ Motion to Dismiss incorporates by

reference the State Defendants’ arguments on standing. (See Fulton Mot. to

Dismiss, Doc. 82-1 at 5.)

       The Supreme Court has set forth the standard for determining whether a

party has standing:

       It is by now well settled that the irreducible constitutional minimum
       of standing contains three elements. First, the plaintiff must have
       suffered an injury in fact—an invasion of a legally protected interest


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      that is (a) concrete and particularized, and (b) actual or imminent, not
      conjectural or hypothetical. Second, there must be a causal connection
      between the injury and the conduct complained of. . . . Third, it must
      be likely, as opposed to merely speculative, that the injury will be
      redressed by a favorable decision.

United States v. Hays, 515 U.S. 737, 742–43 (1995) (quoting Lujan v. Defenders

of Wildlife, 504 U.S. 555, 560–561 (1992)) (internal quotation marks omitted).

“[A] plaintiff must demonstrate standing for each claim he seeks to press and for

each form of relief that is sought.” Town of Chester, N.Y. v. Laroe Estates, Inc.,

137 S. Ct. 1645, 1650 (2017) (quoting Davis v. Federal Election Comm’n, 554 U.S.

724, 734 (2008)).

      As to the first element, Defendants contend that Plaintiffs have not

sufficiently alleged a concrete “injury in fact.” Defendants argue that Plaintiffs’

allegations that the DRE voting machines are vulnerable to hacking and are

“presumed to be compromised” convey only a speculative, generalized fear, thus

falling short of establishing a concrete injury.

      These arguments are unavailing. For one, Plaintiffs have alleged that the

DRE voting system was actually accessed or hacked multiple times already – albeit

by cybersecurity experts who reported the system’s vulnerabilities to state

authorities, as opposed to someone with nefarious purposes. (Curling Complaint,

Doc. 70 ¶¶ 42-43, 45-49; Coalition Complaint, Doc. 226 ¶¶ 95-106.) Contrary to

Defendants’ characterizations, Plaintiffs’ allegations are not premised on a




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theoretical notion or “unfounded fear”19 of the hypothetical “possibility” that

Georgia’s voting system might be hacked or improperly accessed and used.

Plaintiffs allege that harm has in fact occurred, specifically to their fundamental

right to participate in an election process that accurately and reliably records their

votes and protects the privacy of their votes and personal information. (Curling

Complaint, Doc. 70 ¶ 14 (“Curling also chose to exercise her right to cast her vote

using a verifiable paper ballot in the Runoff, so as to ensure that her vote would be

permanently recorded on an independent record. To do so, Curling persisted

through considerable inconvenience – only to be incorrectly told by Defendants

Kemp and the Fulton County Board of Registration and Elections that she had not,

in fact, cast a ballot, creating irreparable harm that her ballot was not counted.”);

¶ 16 (Donna Price “cast her vote on a DRE in the 2016 General Election,” and

“[w]ithout the intervention of this Court, Price will be compelled to choose between

relinquishing her right to vote and acquiescing to cast her vote under a system that

violates her right to vote in absolute secrecy and have her vote accurately

counted”); ¶ 38 (“DREs produce neither a paper trail nor any other means by which

the records of votes cast can be audited.”); ¶¶ 42-43 (“Lamb was able to access key

components of Georgia’s electronic election infrastructure . . . . In accessing these

election system files, Lamb found a startling amount of private information,”

including driver’s license numbers, birth dates, and the last four digits of Social



19 See State Defendants’ Motion to Dismiss Coalition Plaintiffs’ Third Amended Complaint, Doc.

234-1 at 1.

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Security numbers); Coalition Complaint, Doc. 226 ¶ 152 (member of CGG, Brian

Blosser, “was prohibited from voting on April 18, 2017 . . . when his name did not

appear on the eligible voter rolls” for the Sixth Congressional District and “was

instead erroneously listed” as a resident of another district, an error that Fulton

County Board members blamed on a “software glitch”); ¶ 154 (members of CGG,

Mr. and Ms. Digges, previously in 2017 “chose to vote by mail-in paper absentee

ballot because they were aware that an electronic ballot cast using an AccuVote

DRE was insecure,” and they “were required to undergo the inconvenience of

requesting paper ballot[s] and the cost of postage to mail their ballots” “well before

Election Day”); ¶ 72 (“Georgia’s AccuVote DREs do not record a paper or other

independent verifiable record of the voter’s selections.”); ¶ 92 (“[D]esign flaws

render the electronic ballots cast on AccuVote DREs capable of being matched to

voter records maintained by pollworkers and pollwatchers,” and thereby expose

citizens’ candidate selections to poll workers); ¶ 97 (“Lamb freely accessed files

hosted on the ‘elections.kennesaw.edu’ server, including the voter histories and

personal information of all Georgia voters . . . . Lamb noted that the files had been

publicly exposed for so long that Google had cached (i.e., saved digital backup

copies of) and published the pages containing many of them.”); ¶ 138 (“Fulton

Board Members have adopted voting procedures under which individual electronic

ballots bearing a unique identifier are transmitted from Fulton County’s AccuVote

DREs located in satellite voting centers to Fulton County’s central GEMS

tabulation server in clear text (i.e., unencrypted) over an ordinary, unsecured


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telephone line on Election Night. This practice violates fundamental security

principles because it subjects the transmitted votes to manipulation (such as man-

in-the-middle interception and substitution of votes) and exposes the votes with

their unique identifier to third-party interception, violating voters’ rights of secrecy

in voting.”).)

      Plaintiffs also allege the threat of future harm. For instance, in upcoming

elections, Plaintiffs allege that Defendants are requiring them to vote early, mail a

paper absentee ballot, and pay for postage to avoid having to use unsecure DRE

machines, thereby subjecting them to unequal treatment. Furthermore, Plaintiffs

plausibly allege a threat of a future hacking event that would jeopardize their votes

and the voting system at large. Despite being aware of election system and data

cybersecurity threats and vulnerabilities identified by national authorities and the

DRE system’s vulnerability to hacking as early as August 2016 – when Logan

Lamb, the computer scientist, first alerted the State’s Executive Director of the CES

of his ability to access the system – Defendants allegedly have not taken steps to

secure the DRE system from such attacks. (Curling Complaint, Doc. 70 ¶ 46

(“[N]ot only did Georgia fail to take remedial action when alerted to the problem

Lamb raised, it failed to act even in the face of the detailed information on the

cybersecurity threats facing the nation’s election systems, and the recommended

specific steps to reduce the risk, which were disseminated by the FBI, the DHS and




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the EAC20.”); Coalition Complaint, Doc. 226 ¶ 112 (“[N]o efforts have been made

to remediate the compromised software programs and machines or to identify and

remove any malware that was likely introduced during the lengthy security

breaches referred to herein on the ‘elections.kennesaw.edu’ server that hosted the

election-specific software applications and data that are re-installed on every piece

of voting and tabulation equipment used to conduct Georgia’s elections in advance

of each election conducted using Georgia’s Voting System.”).)

       Importantly, courts have recognized these sorts of alleged harms as concrete

injuries, sufficient to confer standing.            In particular, courts have found that

plaintiffs have standing to bring Due Process and Equal Protection claims where

they alleged that their votes would likely be improperly counted based on the use

of certain voting technology. See, e.g., Stewart v. Blackwell, 444 F.3d 843, 855

(6th Cir. 2006) (“The increased probability that their votes will be improperly

counted based on punch-card and central-count optical scan technology is neither

speculative nor remote.”), vacated (July 21, 2006), superseded, 473 F.3d 692 (6th

Cir. 2007) (vacated and superseded on the grounds that the case was rendered

moot by the county’s subsequent abandonment of the DRE machines at issue);

Banfield v. Cortes, 922 A.2d 36, 44 (Pa. Commw. Ct. 2007) (finding that the

plaintiffs had sufficiently alleged standing under similar Pennsylvania law, based

on “the fact that Electors have no way of knowing whether the votes they cast on a



20 DHS is the acronym for the U.S. Department of Homeland Security, and EAC is the acronym

for the U.S. Election Assistance Commission.

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DRE have been recorded and will be counted,” which “gives Electors a direct and

immediate interest in the outcome of this litigation”); c.f. Stein v. Cortes, 223 F.

Supp. 3d 423, 432-33 (E.D. Pa. 2016) (where plaintiffs sought a vote recount, post-

election, based on the use of unsecure DREs, finding no standing based on the

plaintiffs’ “less than clear” allegations that the DRE machines are “hackable”; that

the Pennsylvania Election Code’s recount provisions are “labyrinthine,

incomprehensible, and impossibly burdensome”; and that the past vote count was

inaccurate – which plaintiffs merely posed as a “seemingly rhetorical question”).

      Turning to causal connection, the second element of standing, Defendants

raise different arguments in response to the Curling Plaintiffs’ claims versus the

Coalition Plaintiffs’ claims. For the Curling Plaintiffs, Defendants argue that any

injury would be traced to illegal hacking into the DREs, not the use of the DREs

themselves. Here, as discussed above, the Curling Plaintiffs have alleged that

Defendants were aware of serious security breaches in the DRE voting system and

failed to take adequate steps to address those breaches. Notably, even after Mr.

Lamb first alerted the State about his access of the voting system, he and another

cybersecurity expert were able to access the system again about six months later.

(Curling Complaint, Doc. 70 ¶ 47.)        Plaintiffs allege that Defendants have

continued to fail to take action to remedy the DRE system’s vulnerabilities. (Id. ¶¶

46, 61, 62, 72.) And they allege that this failure, in turn, impacts the integrity of

the voting system and their ability as citizens to rely upon it when casting votes in

this system. (Id.) At the motion to dismiss stage, these allegations plausibly show


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causal connection, even if indirectly, between Defendants’ continued use of

unsecure DREs and the injury to Plaintiffs’ constitutional rights. Focus on the

Family v. Pinellas Suncoast Transit Auth., 344 F.3d 1263, 1273 (11th Cir. 2003)

(“[E]ven harms that flow indirectly from the action in question can be said to be

‘fairly traceable’ to that action . . . .”).

       For the Coalition Plaintiffs, Defendants make the same argument above

regarding causation (which fails) and another slightly different argument.

Defendants take issue with the Coalition Plaintiffs’ request for relief enjoining the

State Defendants from enforcing O.C.G.A. § 21-2-383(b) and State Election Board

Rule 183–1–12–.01. Defendants assert that the State Defendants (the Secretary

and the State Election Board) do not mandate the use of DREs; rather, state law

requires the use of DREs. Defendants maintain that the State Defendants are

merely implementing the governing state law, which they are bound to do, and

therefore Plaintiffs miss the mark by seeking to enjoin the State Defendants’

actions instead of challenging the state law itself. In this way, Defendants argue

that Plaintiffs have not linked their injury to any action by the State Defendants.

       But O.C.G.A. § 21-2-383(b) does not require the use of DREs as Defendants

claim it does. The statute requires absentee electors who vote in-person in the

advance voting period to vote by DRE, but only “in jurisdictions in which direct

recording electronic (DRE) voting systems are used at the polling places on

election day.”      The statute simply specifies the use of DREs under certain

circumstances. Rather, it is the State Election Board that issued a rule requiring


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the use of DREs in “all federal, state, and county general primaries and elections,

special primaries and elections, and referendums,” and requiring the use of DREs

by “persons desiring to vote by absentee ballot in person.” Ga. Comp. R. & Regs. r.

183–1–12–.01. When read together, the state statute and the State Election Board

rule indicate that the State Defendants have chosen to enforce state law so as to

generally require the use of DREs in elections statewide.

      Even apart from the statutory language, the Coalition Plaintiffs have

plausibly alleged that the State Defendants play a critical role in directing,

implementing, programming, and supporting the DRE system throughout the

state. The Coalition Plaintiffs allege that the Secretary provided the counties with

the DRE machines and the software on which they operate. (Coalition Complaint,

Doc. 226 ¶ 59.) Additionally, from 2002 to December 2017, the Secretary allegedly

contracted with Kennesaw State University to create the Center for Election

Services (“CES”) “to assist the Secretary in the fulfillment of his statutory duties to

manage Georgia’s election system.” (Id. ¶ 93.) The CES maintained a central

computer server containing sensitive voting-related information such as software

applications, voter registration information, ballot building files, and “other

sensitive information critical to the safe and secure operation of Georgia’s Voting

System.” (Id. ¶¶ 94, 119.) These factual allegations, when considered with the

Third Amended Complaint as a whole, show that the Coalition Plaintiffs have

alleged enough of a causal link between the State Defendants’ conduct and their

injury for standing purposes.


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      Finally, on the third element of redressability, Defendants raise some of the

same arguments as they do for the second element. Defendants argue that an

injunction prohibiting the State Defendants from using DREs would not actually

stop the deployment of DREs. Defendants maintain that county officials not

included in this suit would continue to use DREs, as the State is not the entity that

enforces the law requiring DREs. Defendants also argue that a different balloting

system would not eliminate potential third-party interference, as no election

system is flawless.

      As stated above, the Court finds that the Coalition Plaintiffs have sufficiently

alleged that the State Defendants play a significant role in the continued use and

security of DREs, and therefore the requested injunction would help redress some

of the Coalition Plaintiffs’ injury. The Secretary of State both has the authority and

obligation to investigate complaints regarding the accuracy and safety of the DRE

voting system and to take appropriate corrective action in connection with the

continued use of the DRE system. O.C.G.A. § 21-2-379.2. The Third Amended

Complaint describes how the Secretary of State could play a critical role in

conducting an in-depth investigation and formulating a remedy. As alleged in the

Complaint, the State of California commissioned a study in 2007 to examine the

security of its own Diebold AccuVote DRE system, the same type of system used in

Georgia. Upon the study’s findings that the DRE system was inadequate, had

serious design flaws, and was susceptible to hacking, California’s Secretary of State

then decertified its DRE system in 2009. (Coalition Complaint, Doc. 226 ¶¶ 81,


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84, 86.) The Complaint similarly alleges that the Secretary of State for Ohio

commissioned an independent expert study of a newer version of the DREs than

those used in Georgia and reached similar conclusions as to the lack of trustworthy

design and vulnerability to attack of the election system. (Id. ¶¶ 81, 83, 85.)

      The State Defendants here are similarly in a position to redress the Plaintiffs’

alleged injury. Thus, if the Court were to grant at least part of the requested

injunctive relief as to the suspended use of the DRE voting system, any injunction

would likely enjoin both the State Defendants as well as the Fulton County

Defendants (as there is no argument that the County would not be enjoined).

Furthermore, as to Defendants’ argument that no election system is flawless, the

Coalition Plaintiffs rightly point out that this is not the standard for redressability.

Plaintiffs are seeking relief to address a particular voting system which, as

currently implemented, is allegedly recognized on a national level to be unsecure

and susceptible to manipulation by advanced persistent threats through nation

state or non-state actors. Plaintiffs are not asking for a system impervious to all

flaws or glitches.

      Defendants assert three additional arguments related to standing: that the

Coalition Plaintiffs cannot manufacture standing by inflicting harm on themselves,

that the individual Plaintiff Coalition for Good Governance (“CGG”) lacks

organizational and associational standing, and that Plaintiffs must reside in the

jurisdiction for which they seek to enjoin DRE use.




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      The first of these arguments fails because the cases relied on by Defendants

are distinguishable. Here, the Coalition Plaintiffs are suffering injury from the

voluntary exercise of their fundamental right to vote, not from just any sort of

activity that they decide to engage in. In Clapper v. Amnesty International USA,

568 U.S. 398 (2013), the plaintiffs voluntarily spent money to take certain

protective measures, based on a hypothetical fear of being subject to surveillance.

And in Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992), the plaintiffs expressed

an intent to voluntarily return to certain places they had visited before, which

would deprive them of the opportunity to observe animals of an endangered

species. These activities do not invoke the protection associated with exercising

fundamental rights, such as the right to vote. The Coalition Plaintiffs aptly point

out that Defendants’ logic would bar many voting rights cases, based on individuals

choosing to vote by one method or another, which certainly is not how courts have

assessed standing in this context.

      Defendants’ challenge of CGG’s standing similarly fails. “An organization

has standing to enforce the rights of its members when its members would

otherwise have standing to sue in their own right, the interests at stake are

germane to the organization’s purpose, and neither the claim asserted nor the relief

requested requires the participation of individual members in the lawsuit.” Fla.

State Conference of N.A.A.C.P. v. Browning, 522 F.3d 1153, 1160 (11th Cir. 2008)

(internal quotation marks omitted). The State Defendants argue that the Coalition

Plaintiffs merely “presume” harm to their own members, without sufficiently


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alleging harm to one or more of their members. (State Mot. to Dismiss, Doc. 234-

1 at 31.) They also argue that CGG cannot assert that individuals are “members”

merely because they are listed on CGG’s mailing list. (Id.) The Coalition Plaintiffs,

however, have alleged that the individual Plaintiffs – Laura Digges, William Digges

III, Ricardo Davis, and Megan Missett – are all members of CGG. Contrary to

Defendants’ assertion, these particular Plaintiffs do not allege that they are

members of CGG solely because they are on the mailing list. Furthermore, at least

one of these Plaintiffs also alleges harm to his or her individual rights under the

federal Constitution, as discussed above, so that they could presumably sue

Defendants in their own right. (Coalition Complaint, Doc. 226 ¶¶ 24-27.) The

Court finds these allegations sufficient to confer associational standing to CGG.21

       As for Defendants’ argument that Plaintiffs must reside in the county where

they seek injunctive relief, this argument misses the mark. The Court need only

find that one plaintiff (from each of the two sets of Plaintiffs) has sufficiently

alleged standing, and that is the case here. Am. Civil Liberties Union of Fla., Inc.

v. Miami-Dade Cty. Sch. Bd., 557 F.3d 1177, 1195 (11th Cir. 2009) (“Because Balzli

has standing to raise those claims, we need not decide whether either of the

organizational plaintiffs also has standing to do so.”). Specifically, the Curling

Plaintiffs allege that Donna Curling is a resident of Fulton County and intends to

vote in the upcoming elections in Fulton County. (Curling Complaint, Doc. 70 ¶


21 The Court need not reach Defendants’ challenge to CGG’s organizational standing, as the Court

has already found the Coalition Plaintiffs sufficiently alleged associational standing for CGG. See
Common Cause/Georgia v. Billups, 554 F.3d 1340, 1351 (11th Cir. 2009).

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13.) The Coalition Plaintiffs likewise allege that Megan Missett is a resident of

Fulton County who intends to vote in the County’s upcoming elections. (Coalition

Complaint, Doc. 226 ¶ 27.) Based on the current allegations, both Ms. Curling and

Ms. Missett have established the required elements of injury in fact, causation, and

redressability as discussed above.

       In sum, the Court finds that both sets of Plaintiffs have sufficiently alleged

standing to bring their claims at this juncture.

           B. Eleventh Amendment Immunity

       Defendants argue that Plaintiffs’ two federal claims are barred by the

Eleventh Amendment. Defendants acknowledge the Ex Parte Young22 exception

to Eleventh Amendment immunity, which allows claims against state officers in

their official capacities for prospective injunctive relief. But Defendants assert that

the exception does not apply here for the following reasons: Plaintiffs seek to

enjoin the enforcement of a state law that they do not challenge as

unconstitutional; Plaintiffs have not alleged an ongoing or continuous violation of

federal law; Plaintiffs seek to remedy past, not prospective, conduct; and Plaintiffs’

requested relief implicates special state sovereignty interests.

       Defendants’ arguments are meritless. First, Plaintiffs rightly point out that

the Ex Parte Young exception applies to as-applied challenges to state statutes, not

just facial challenges as Defendants imply. Here, Plaintiffs specifically challenge

the application of Georgia’s law by Defendants to require in-person voting by DRE.


22 209 U.S. 123 (1908).



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Second, Plaintiffs clearly allege an ongoing and continuous violation of federal law.

The injunctive relief they request is designed to prevent injury by enjoining the use

of DREs in upcoming elections and other future elections. Third, and likewise,

Plaintiffs seek to remedy prospective harm.23 Fourth, the requested relief does not

implicate special state sovereignty interests by essentially usurping the State’s role

in regulating elections. Plaintiffs are not asking the Court to direct how the State

counts ballots. They are asking the Court to bar the use of DREs based on the

specific circumstances, history, and data security issues presented in this case and

where the State has alternative options of using optical scanners and hand

counting ballots. And they seek to require the State to implement a fully auditable

ballot system designed to ensure the accuracy and reliability of the voting process

in this challenging era when data system vulnerabilities pose a serious risk of

opening election data, processes, and results to cyber manipulation and attack.

       Thus, pursuant to Ex Parte Young, the Court finds that the Eleventh

Amendment does not bar Plaintiffs’ federal claims.24

       For the reasons stated above, the Court finds that it has jurisdiction at this

juncture for purposes of considering Plaintiffs’ motions for preliminary injunction.




23 Defendants’ arguments opposing Plaintiffs’ motions for preliminary injunction belie this
argument, as Defendants claim that the requested injunctive relief, if granted, would harm them
on the eve of the upcoming November 2018 election.
24 At one point, State Defendants cite to cases involving state sovereign immunity issues. The

Court clarifies that state sovereign immunity is not at issue here – only Eleventh Amendment
sovereign immunity. Plaintiffs do not allege violations of the Georgia Constitution. They allege
violations of the U.S. Constitution based in part on the enforcement of state law requiring the use
of DREs for in-person voting. (See SEB Rule 183–1–12–.01.)

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The Court therefore DENIES IN PART Defendants’ Motions to Dismiss [Docs.

82, 83, 234] as discussed herein.

IV.   Plaintiffs’ Motions for Preliminary Injunction

      To obtain preliminary injunctive relief, the moving party must show that: (1)

it has a substantial likelihood of success on the merits; (2) irreparable injury will

be suffered unless the injunction issues; (3) the threatened injury to the movant

outweighs whatever damage the proposed injunction may cause the opposing

party; and (4) if issued, the injunction would not be adverse to the public interest.

McDonald’s Corp. v. Robertson, 147 F.3d 1301, 1306 (11th Cir. 1998). In the

Eleventh Circuit, “[a] preliminary injunction is an extraordinary and drastic

remedy not to be granted unless the movant clearly established the ‘burden of

persuasion’ as to the four prerequisites.” Id. (internal citations omitted).

      Furthermore, the Supreme Court has recognized that there are special

considerations involved with impending elections and the critical issues at stake.

In Reynolds v. Sims, the Court stated:

      [O]nce a State’s [election-related] scheme has been found to be
      unconstitutional, it would be the unusual case in which a court would
      be justified in not taking appropriate action to insure that no further
      elections are conducted under the invalid plan. However, under
      certain circumstances, such as where an impending election is
      imminent and a State’s election machinery is already in progress,
      equitable considerations might justify a court in withholding the
      granting of immediately effective relief in a legislative apportionment
      case, even though the existing apportionment scheme was found
      invalid. In awarding or withholding immediate relief, a court is
      entitled to and should consider the proximity of a forthcoming
      election and the mechanics and complexities of state election laws,
      and should act and rely upon general equitable principles.


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377 U.S. 533, 585 (1964); see also Purcell v. Gonzalez, 549 U.S. 1, 4–5 (2006)

(holding that courts are “required to weigh, in addition to the harms attendant

upon issuance or nonissuance of an injunction, considerations specific to election

cases and its own institutional procedures”).

      Considering the totality of the evidence and affidavits presented at this

juncture, the Court finds with a measure of true caution that Plaintiffs are likely to

satisfy the first element for a preliminary injunction – a likelihood of success on

the merits – for at least some of their claims. The Court’s caution is that though

the parties have filed endless briefs on Defendants’ multiple motions to dismiss

and amended complaints, largely due to Plaintiffs’ changes in counsel, the case did

not move substantively forward until the motions for preliminary injunction were

filed in August 2018. The subject matter in this suit is complex, even if well-

presented, and there is still key information that needs to be gathered. For

instance, the voting system and data handling deficiencies in one county, Fulton

County, could possibly impact all other counties in the state. The State also never

called the Chief Information Officer for the Secretary of State’s Office to testify, and

substantive answers from other state officials were limited by their lack of

computer science expertise and apparent knowledge. In short, the case would

benefit from some discovery and a full evidentiary hearing on the merits over

several days.




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      That said, the Supreme Court has held that “[i]t is beyond cavil that voting

is of the most fundamental significance under our constitutional structure.”

Burdick v. Takushi, 504 U.S. 428, 433 (1992) (internal quotation marks omitted).

The Court goes on to recognize that “[i]t does not follow [] that the right to vote in

any manner and the right to associate for political purposes through the ballot are

absolute.” Id. Thus, courts apply a more flexible standard in this context:

      A court considering a challenge to a state election law must weigh the
      character and magnitude of the asserted injury to the rights protected
      by the First and Fourteenth Amendments that the plaintiff seeks to
      vindicate against the precise interests put forward by the State as
      justifications for the burden imposed by its rule, taking into
      consideration the extent to which those interests make it necessary to
      burden the plaintiff’s rights. . . . Under this standard, the rigorousness
      of our inquiry into the propriety of a state election law depends upon
      the extent to which a challenged regulation burdens First and
      Fourteenth Amendment rights. Thus, as we have recognized when
      those rights are subjected to severe restrictions, the regulation must
      be narrowly drawn to advance a state interest of compelling
      importance. . . . But when a state election law provision imposes only
      reasonable, nondiscriminatory restrictions upon the First and
      Fourteenth Amendment rights of voters, the State’s important
      regulatory interests are generally sufficient to justify the restrictions.

Id. at 434 (internal quotation marks omitted).

      Here, Plaintiffs have shown that their Fourteenth Amendment rights to Due

Process and Equal Protection have been burdened. Put differently, the State’s

continued reliance on the use of DRE machines in public elections likely results in

“a debasement or dilution of the weight of [Plaintiffs’] vote[s],” even if such

conduct does not completely deny Plaintiffs the right to vote. Bush v. Gore, 531

U.S. 98, 105 (2000) (quoting Reynolds, 377 U.S. at 555).



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      Plaintiffs shine a spotlight on the serious security flaws and vulnerabilities

in the State’s DRE system – including unverifiable election results, outdated

software susceptible to malware and viruses, and a central server that was already

hacked multiple times. Mirroring the truncated affidavit statement of Merritt

Beaver, the Chief Information Officer in the Office of the Secretary of State, the

State Defendants’ response brief merely states, without more, that the central

server is no longer an issue because the way Kennesaw State University maintained

the system “is not the way that those tasks are undertaken now.” (See Response,

Doc. 265 at 22; Beaver Affidavit, Doc. 265-1.) The Defendants presented no

witness with actual computer science engineering and forensic expertise at the

preliminary injunction hearing to address the impact of the Kennesaw State

University breach or the specifics of any forensic evaluation of the servers, DREs,

removable media used for transfer of data, analog phone modems, and other

connected devices that together constitute the election system. The Defendants’

response brief is close to non-responsive to the concerns that Plaintiffs raise about

the serious vulnerability of the server and the election data system at large to

intrusion, virus, or attack. Defendants’ response is bare-boned in the absence of

evidence of installation of updates to software or equipment or evidence of

statewide software and hardware scrubbing – after at least one or more portions

of the database system operated by Kennesaw State University was left accessible

for at least six months. In fact, Defendants presented scant evidence to rebut

Plaintiffs’ expert evidence regarding Georgia’s persistent failure to update or


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replace software systems, despite security flaws identified by the software

industry.25

       Michael Barnes, the Director of the CES at Kennesaw State University,26 was

the sole staff member at the CES to move over to the State when the Center’s

functions were taken over by the Secretary of State’s office. He in turn became the

Center’s Director once this transfer occurred. The State presented his testimony

at trial. Mr. Barnes professed effectively no knowledge about the ramifications for

the state’s voter system or remedial measures in connection with Mr. Lamb’s

accessing the CES’s voter registration databases – which was filled with millions of

voter records with personally identifiable information, passwords for election day

supervisors, and the software used to create ballot definitions, memory cards, and

vote tabulations. Mr. Barnes also appeared not to recognize the full scope of the

contamination risks posed by his own use of a plug-in USB drive (which he

connects both to the central GEMS “air-gapped” server and his own “public facing”

computer that is connected to the Internet) to transfer vital elections programming

data to the counties. Mr. Barnes similarly did not appear to recognize the risks

associated with the use of analog phone connections for the transfers of election

results.




25 Indeed, after Fulton County experienced a meltdown in the tabulation of the vote in the primary

for the Sixth Congressional District in 2017, Richard Barron, the Director of Registration and
Elections for Fulton County, vocally expressed his view that the software system of 2000 vintage
should be investigated and should have been replaced. (Pl. Ex. 9, Preliminary Injunction
Hearing.)
26 Mr. Barnese is not a computer scientist.



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      As discussed earlier, the Curling Plaintiffs’ voting-systems cybersecurity

expert, Alex Halderman, demonstrated at the hearing how malware could be

introduced into a DRE machine via a memory card and actually change an elector’s

vote without anyone knowing. (See also DeMillo Affidavit, Doc. 277 Ex. C; Buell

Affidavit, Doc. 260-3; Bernhard Affidavit, Doc. 258-1 at 33-42.) Additionally,

Professor Halderman explained in his testimony in detail the reasons why the DRE

auditing and confirmation of results process used by state officials on a sample

basis is generally of limited value. This process is keyed to matching the total

ballots cast, without any independent source of individual ballot validation, and it

can be defeated by malware similar to that used by the Volkswagen emissions

software that concealed a car’s actual emissions data during testing. (Halderman

testimony at hearing; Halderman Affidavit, Doc. 260-2 ¶¶ 35-48; see also DeMillo

Affidavit, Doc. 277, Ex. C ¶¶ 10-20.) Further, parallel testing of DREs is of limited

value. “If the testing reveals, at the close of the election, that the machines were

counting incorrectly, there will likely be no way to recover the true results, since

the machines used in Georgia have no paper backup records.”             (Halderman

Affidavit, Doc. 260-2 ¶ 41.)

      Plaintiffs also emphasize current cybersecurity developments regarding

election security and the heightened, legitimized concerns of election interference.

Contrary to Defendants’ assertions, Plaintiffs’ claims do not boil down to paranoia

or hypothetical fear. National security experts and cybersecurity experts at the

highest levels of our nation’s government and institutions have weighed in on the


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specific issue of DRE systems in upcoming elections and found them to be highly

vulnerable to interference, particularly in the absence of any paper ballot audit

trail.27 Indeed, the evidence and testimony presented conforms with the patterns

of heightened cybersecurity breach and data manipulation attacks now regularly

appearing in civil financial cases as well as criminal cases. 28

        Defendants assert that the state election laws at issue are “narrowly drawn

to effect the State’s regulatory interest in maintaining fair, honest and efficient

elections.”    (Response, Doc. 265 at 15.)             This conclusory re-statement of an

overarching principle of Fourteenth Amendment voting jurisprudence29 does not

by itself answer the issues before the Court. However, the Court recognizes the

important policy changes and objectives achieved by the State’s adoption via the

Secretary of State’s Office of the statewide integrated DRE voting system in

approximately 2002. But the DRE system also originally was intended to include

the capacity for an independent paper audit trail of every ballot cast, and this

feature was never effectuated. (Report of the 21st Century Voting Commission, Pl.

Ex. 10 at 38, introduced at Preliminary Injunction hearing; testimony of Cathy

Cox.)




27 The PowerPoint presentation of Dr. Wenke Lee, the sole cybersecurity scientist serving on the

Secretary of State’s new SAFE Commission, identifies similar overarching risks and solutions,
including paper ballots as durable evidence of election results. (Pl. Ex. 5 at Preliminary Injunction
Hearing.)
28 But in contrast to the circumstances where there is no independent vote audit trail, when money

is stolen through cybercrime, ultimately the theft is clearly obvious – the funds are gone.
29 See Burdick, 504 U.S. at 433.



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      As the Court noted at the preliminary injunction hearing, rapidly evolving

cybertechnology changes and challenges have altered the reality now facing

electoral voting systems and Georgia’s system in particular. And it is this reality

that Plaintiffs substantiated with expert affidavits and testimony as well as an array

of voter affidavits and documentation. Defendants sidestep the fact that Georgia

is only one of five states that rely on a DRE voting process that generates no

independent paper ballot or audit record. Yet the Plaintiffs’ evidence as to the

problems of security, accuracy, reliability, and currency of Georgia’s system and

software have hardly been rebutted by Defendants except via characterizations of

the issues raised as entirely hypothetical and baseless. Ultimately, an electoral

system must be accurate and trustworthy. The State’s apparent asserted interest

in maintaining the DRE system without significant change cannot by itself justify

the burden and risks imposed given the circumstances presented. Burdick, 504

U.S. at 434.

      Plaintiffs are substantially likely to succeed on the merits of one or more of

their constitutional claims, though this finding is a cautious, preliminary one,

especially in light of the initial state of the record. Plaintiffs have so far shown that

the DRE system, as implemented, poses a concrete risk of alteration of ballot

counts that would impact their own votes. Their evidence relates directly to the

manner in which Defendants’ alleged mode of implementation of the DRE voting

system deprives them or puts them at imminent risk of deprivation of their

fundamental right to cast an effective vote (i.e., a vote that is accurately counted).


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United States v. Classic, 313 U.S. 299, 315 (1941); Stewart, 444 F.3d at 868.

Plaintiffs’ evidence also goes to the concern that when they vote by DRE, their vote

is in jeopardy of being counted less accurately and thus given less weight than a

paper ballot.30 As the Supreme Court held in Bush v. Gore:

       The right to vote is protected in more than the initial allocation of the
       franchise. Equal protection applies as well to the manner of its
       exercise. Having once granted the right to vote on equal terms, the
       State may not, by later arbitrary and disparate treatment, value one
       person’s vote over that of another. . . . It must be remembered that
       “the right of suffrage can be denied by a debasement or dilution of the
       weight of a citizen’s vote just as effectively as by wholly prohibiting the
       free exercise of the franchise.”

531 U.S. 98, 104-05 (2000) (internal citations omitted).

       The Defendants rely on Wexler v. Anderson, 452 F.3d 1226 (11th Cir. 2006)

in maintaining that Plaintiffs cannot establish the viability of their Fourteenth

Amendment claims described above. But Wexler and this case are distinguishable.

The Eleventh Circuit noted that the Wexler plaintiffs “did not plead that voters in

touchscreen counties are less likely to cast effective votes due to the alleged lack of

a meaningful manual recount procedure in those counties,” and therefore their

“burden is the mere possibility that should they cast residual ballots, those ballots

will receive a different, and allegedly inferior, type of review in the event of a

manual recount.” Id. at 1226. Wexler distinguishes this situation from the one in


30 Plaintiffs allege other theories under these constitutional claims, including that their right to

cast a secret ballot is violated and that they must incur greater costs to cast an absentee ballot if
they choose to avoid voting by DRE. Plaintiffs may be less likely to prevail on these theories,
though the Court will not reach that conclusion now, especially given the incomplete status of the
evidentiary record.


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Stewart v. Blackwell, 444 F.3d at 868-72, where strict scrutiny was applied based

on the plaintiffs’ allegations of “vote dilution due to disparate use of certain voting

technologies.” 444 F.3d at 871. Thus, in contrast with Stewart, the Eleventh

Circuit in Wexler did not apply strict scrutiny and instead reviewed “Florida’s

manual recount procedures to determine if they are justified by the State’s

‘important regulatory interests.’” Wexler, 452 F.3d at 1233 (citing Burdick, 504

U.S. at 434)).

      Here, Plaintiffs appear to present facts that fall somewhere between Wexler

and Stewart. Unlike Wexler, Plaintiffs are alleging that they are less likely to be

able to cast accurate or effective ballots when voting by DRE. The evidence here is

not as well developed as that in Stewart, which was decided on a fully factually

developed summary judgment record. Still, Plaintiffs in this case have presented

sufficient evidence so far that their votes cast by DRE may be altered, diluted, or

effectively not counted on the same terms as someone using another voting method

– or that there is a serious risk of this under the circumstances.

      Turning to the second element for a preliminary injunction, the Court also

finds that Plaintiffs have demonstrated a real risk of suffering irreparable injury

without court intervention. This analysis to some extent parallels the “injury in

fact” standing analysis above. Absent an injunction, there is a threat that Plaintiffs’

votes in the upcoming elections will not be accurately counted. Given the absence

of an independent paper audit trail of the vote, the scope of this threat is difficult




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to quantify, though even a minor alteration of votes in close electoral races can

make a material difference in the outcome.

      Finally, the Court considers together the last two factors in evaluating

whether preliminary injunctive relief should be granted: whether the threatened

injury to the movant outweighs whatever damage the proposed injunction may

cause the opposing party; and, if issued, whether the injunction would not be

adverse to the public interest. The Court considers these factors in tandem, as the

real question posed in this context is how injunctive relief at this eleventh-hour

would impact the public interest in an orderly and fair election, with the fullest

voter participation possible and an accurate count of the ballots cast.

      This assessment involves a true catch-22.

      While Plaintiffs have shown the threat of real harms to their constitutional

interests, the eleventh-hour timing of their motions and an instant grant of the

paper ballot relief requested could just as readily jeopardize the upcoming

elections, voter turnout, and the orderly administration of the election.

Defendants introduced substantial evidence from Elections Directors from

counties with major populations (e.g., Fulton, Cobb, Gwinnett, Muscogee, and

Richmond Counties) regarding the fiscal, organizational, and practical

impediments and burdens associated with a court order that would require

immediate implementation of paper ballot and ballot scanning voting systems for

the 2018 election cycle.     (See Testimony of Richard Barron at Preliminary

Injunction Hearing; Doc. 265-3; Doc. 265-6.) Various representatives of the


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Secretary of State’s office provided testimony regarding similar organizational and

fiscal challenges.   Some of these concerns, such as authority for emergency

purchase orders of ballot paper or scanners, clearly are resolvable based on

emergency purchase provisions under state and local law. The Court’s greater

concern, in considering the evidence, is that the massive scrambling required to

implement such injunctive relief in roughly 2,600 precincts and 159 countries will

seriously test the organizational capacity of the personnel handling the election, to

the detriment of Georgia voters.

      Plaintiffs have submitted evidence from various jurisdictions in other states

of their ability to smoothly roll out a paper ballot/optical scanning system in an

expedited time frame as well an affidavit from the administrator overseeing

Maryland’s transition over an expedited, but still far longer, time frame. The

challenges presented in these jurisdictions are not comparable to managing a rapid

implementation of a balloting system, associated technology, and administrative

transition in less than seven weeks on a statewide basis in large population centers

as well as tiny ones simultaneously. Nor is it likely simple to roll out a paper ballot

system with proper, efficient scanning, when many polling station personnel

throughout the state have never handled this scope of a paper ballot exercise – or

used accompanying scanners on a massive basis.

      Further, early elections begin mid-October. This poses an even earlier

deadline for action and organization. Fulton County’s Elections Director testified

that the County would only be able to cope with the challenges of an immediate


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ballot requirement by limiting early voting to one central location, rather than

offering it at 20 locations spread throughout the county. This, of course, would

likely directly impact voter turnout and access to voting.

      Ultimately, any chaos or problems that arise in connection with a sudden

rollout of a paper ballot system with accompanying scanning equipment may

swamp the polls with work and voters – and result in voter frustration and

disaffection from the voting process. There is nothing like bureaucratic confusion

and long lines to sour a citizen. And that description does not even touch on

whether voters themselves, many of whom may never have cast a paper ballot

before, will have been provided reasonable materials to prepare them for properly

executing the paper ballots.

      The Court attempted to expedite this case at earlier times to no avail. The

Court understands some of the reasons why Plaintiffs may have been unable to file

a preliminary injunction motion before new counsel for the Coalition Plaintiffs

filed a Third Amended Complaint in June 2018. But the August filing of their

motion for preliminary injunction effectively put the squeeze on their proposed

remedial relief. Requiring injunctive relief on this broad of a scale, and on an

abrupt, time-limited basis, would likely undermine a paper ballot initiative with a

scanned audit trail that appears in reality to be critically needed.

      Meanwhile, the State Defendants have also stood by for far too long, given

the mounting tide of evidence of the inadequacy and security risks of Georgia’s

DRE voting system and software. The Court is gravely concerned about the State’s


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pace in responding to the serious vulnerabilities of its voting system – which were

raised as early as 2016 – while aging software arrangements, hardware, and other

deficiencies were evident still earlier. The Secretary of State’s Secure, Accessible,

& Fair Elections (SAFE) Commission has held just two meetings since its

establishment in April 2018, though it is tasked with making recommendations to

the legislature that convenes in January 2019.         The State and the County’s

arguments about the time and resource constraints at issue, in the event the Court

granted the requested injunctive relief, are compelling right now, with the

November election just weeks away. But these arguments only weaken the more

that time passes and if Defendants continue to move in slow motion or take

ineffective or no action. For upcoming elections after November 2018, Defendants

are forewarned that these same arguments would hold much less sway in the future

– as any timing issues then would appear to be exclusively of Defendants’ own

making at that point.

      Upon considering the totality of the evidence in connection with the four

factors that must guide the Court’s determination regarding the grant of

extraordinary relief as to Plaintiffs’ constitutional claims, the Court finds that the

Plaintiffs have not carried their burden of persuasion to establish these

prerequisites for such extraordinary injunctive relief in the immediate 2018

election time frame ahead.




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V.    Conclusion

      While Plaintiffs’ motions for preliminary injunction [Docs. 258, 260, 271]

are DENIED, the Court advises the Defendants that further delay is not tolerable

in their confronting and tackling the challenges before the State’s election balloting

system. The State’s posture in this litigation – and some of the testimony and

evidence presented – indicated that the Defendants and State election officials had

buried their heads in the sand. This is particularly so in their dealing with the

ramifications of the major data breach and vulnerability at the Center for Election

Services, which contracted with the Secretary of State’s Office, as well as the

erasure of the Center’s server database and a host of serious security vulnerabilities

permitted by their outdated software and system operations.

      A wound or reasonably threatened wound to the integrity of a state’s election

system carries grave consequences beyond the results in any specific election, as it

pierces citizens’ confidence in the electoral system and the value of voting.

      Advanced persistent threats in this data-driven world and ordinary hacking

are unfortunately here to stay. Defendants will fail to address that reality if they

demean as paranoia the research-based findings of national cybersecurity

engineers and experts in the field of elections.       Nor will surface-level audit

procedures address this reality when viruses and malware alter data results and

evade or suppress detection. The parties have strongly intimated that this case is

headed for immediate appeal. But if the case stays with or comes back to this

Court, the Court will insist on further proceedings moving on an expedited


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schedule. The 2020 elections are around the corner. If a new balloting system is

to be launched in Georgia in an effective manner, it should address democracy’s

critical need for transparent, fair, accurate, and verifiable election processes that

guarantee each citizen’s fundamental right to cast an accountable vote.

      IT IS SO ORDERED this 17th day of September, 2018.



                                       _____________________________
                                       Amy Totenberg
                                       United States District Judge




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